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UNI.'I`EI§}- S'l`ATES l)ilS'.l`Rll C'l` C(}URT
SOUTH'ERN DISTRICT ()F FLORIDA

t"RANKL.rN otm;MtNos, g

mendez ' l ` . l _: eAsE No; i.;is-<;v-zssm-opo
VS. n l
sPooA CoRP.,

l)e'l"en<le;n.t. / _

 

FORBEARANCE AGREEMENT

'Plaintift`, FR.ANKLI`N CUMMINGS, agrees to .|:`ol'el)ear execution and further post
judgment collection efforts to collect the Final .`l`udgment entered in this eause_, subject to
l I)e‘i"endzmt, EPOCA C{).R~P’s agreement to the 'l"ollowing terms;_

l. ”I`.he balance currently owed to `Plaiz.itit`t`, inclusive of attorney’s fees :fi`or colleet.ion,
is for $l6,99l .00. l~-lowever, for the purpose ot`reach.iug this Agreement, Det`endant has agreed to
pay, and Plainti:t?t`has agreed to accept the total sum ol`$.l 5,000.00, inclusive of attorneys fees and
costs in nineteen payments on the following ter_ms: `

e. Au initial payment o.l." $6,0(}0 payable Witli§'n five (5) days of Pleinti'l"'f"' s execution
of this forbearanceagreement

t)`. Commeneiug lai-wary l, 20`18, and on the til"st day of each month thereafter
(J`an_uery _l_, 2(}1.8'th1‘ough June 2019), eighteen equal installments of $500.00 per
month '

2. Al.l checks shell be made payable to .l`o:n.athao S. Mi_ni.ek. P.A. 'f[`rust Aecour.it, and
delivered to Plaiutiff"s counsel et l.$§() SW 8"’ Street, Suite 307, Mia_mi, llloi‘idzt 33135. r`l`o assure
mid tl‘tci.litate timely payment De'f"endant shell supply P.leinti;tl"’s counsel With post~deted checks
for the amounts set toith above.,-Whiolt Plainti't`t"s counsel is authorized to deposit on the due dates
set forth above `

3. li"all payments are successfully matle, `Pla§ntift` shall tile 21 satist`action ot`j'ocl.gment,
and the Det`endant will be relez\sed.'from all further responsibility for the Judgment.

¢l. lt` .Det`enciant 'l"ziils to make o payment ie. any of the postdated checks bounoe,
l€’[te:in;tiff’ s counsel Wili give Det`eni_lunt 5 days to cure and pay any associated bank l:`ees, after entail

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notice ot`detii.ult to defense counsel if Dei;`enclzuit fails to cure a deliault_. the lorbearauce is deemed

-uuli and void and Plaiut;ift` may immediately resume collection and execution until payment ot` the
it`ull judgment iutl<iemerit amount oi;` i§§l 6 99`£ 00 and any post _"utlgiueut attoruey’s fees to collect
the balance ot the ludgmeut are fully Sat_istieci less the amount ot any payments already paid by
ii PO(`A C()RP. to Curumings_ and/01 louatliurl S. Miui_cl< `P A..

5.' ’lj`he parties agree that this iiiorbearauce Agreemeut shale be approved by the Court,
and a failure to pay shall be deemed a violation oij the Court’s Or<ler reserving jurisdiction to
enforce this liorbearauce Agreernerit.

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IN Wl'l.`l\lfiSS WlllllRl:EOl?, the parties lay their hands this l l _cley of Ne=v‘embei~£{)l 7.

   

By:
FRANKLlN Cl.l`l\rl.

 

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notice of default to defense counsel. If Defendant fails to cure a default, the forbearance is deemed
null and void and Plaintiff may immediately resume collection and execution until payment of the
full judgment judgement amount of $l6,991.00 and any post judgment attorney’s fees to collect
the balance of the .ludgment are fully satisfied, less the amount of any payments already paid by
EPOCA CORP. to Cummings and/or Jonathan S. Minick, P.A.,.

5. The parties agree that this Forbearance Agreement shall be approved by the Court,
and a failure to pay shall be deemed a violation of the Court’s Order reserving jurisdiction to
enforce this Forbearance Agreement.

lN V~,’lTNESS WHEREOF, the parties lay their hands this day of November 2017.

 

FRAY‘~IKLIN CUMMINGS
I`_\’TEGRA PROPERTY SERVICES, LLC

w vice §tgs\cle¢r\

Title

By:

 

